909 F.2d 1495
    Unpublished DispositionNOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Leandro A. CARSOLIN, Petitioner,v.OFFICE OF PERSONNEL MANAGEMENT, Respondent.
    No. 90-3276.
    United States Court of Appeals, Federal Circuit.
    July 17, 1990.
    
      Before MAYER, Circuit Judge, JACK R. MILLER, Senior Circuit Judge, and LOURIE, Circuit Judge.
      DECISION
      PER CURIAM.
    
    
      1
      The final decision of the Merit Systems Protection Board in docket No. SE08318610374, dismissing as untimely Leandro A. Carsolin's petition for review of the Office of Personnel Management's reconsideration decision denying Carsolin's application for a civil service retirement annuity, is affirmed.
    
    OPINION
    
      2
      We will not disturb the board's decision that good cause does not exist to waive its requirement that petitions for review of OPM reconsideration decisions be filed within 25 days of issuance, 5 C.F.R. Sec. 1201.22(b) (1986), unless that decision is arbitrary or capricious.   Bacashihua v. Merit Sys. Protection Bd., 811 F.2d 1498, 1500 (Fed.Cir.1987).  The record is clear that Carsolin's petition was untimely both as dated and as filed.  Since he failed to provide the board, as he fails to provide us, with any reason for the delay, we affirm the board's refusal to waive the filing requirement in his case.
    
    